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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT
MARIO CERAME                              :                             :

        Plaintiff, pro se                      :                 :

v.                                             :          3:21-cv-01508-JCH
                                               :

Edward “Ned” Lamont, Jr.,                      :
Governor of the State of Connecticut; and
                                               :
Richard J. Colangelo, Jr.,
Chief State’s Attorney of Connecticut; and :

        Defendants                             :
        In their official capacities only                 APRIL 1, 2022

     SECOND MOTION TO EXTEND TIME TO RESPOND TO MOTION TO DISMISS

            In accordance with local rule 7(b), the Plaintiff respectfully moves for a 30 day

     extension of time, up to and including May 1, 2022, within which to respond to the

     motion to dismiss filed by the Defendants. The Defendants consent to the motion.

            The plaintiff has met and conferred with counsel for the defendants and has

     outlined to him where he believes the motion is strong—discrete issues the plaintiff

     agrees he should concede—and has also outlined how the plaintiff believes he must

     respond in order to perfect standing and justiciability to address questions raised.

            The matters in the motion are extremely complicated and hyper technical.

     Undersigned is pro se, and, while an experienced attorney, has undertaken this suit

     in the public interest, expecting no remuneration, and has not been able to dedicate

     the resources necessary to adequately address fair questions raised by the State.

     The plaintiff believes these questions can be address fully and fairly, but requires

     additional time to do so.



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       Although this is the second motion for extension of time on an early motion,

the plaintiff begs the Court’s permission for an additional 30 days’ extension, noting

respectfully that the State was allowed such an second extension to respond to the

initial pleading as well.

       Granting the extension allowing the parties to more adequately and

completely address the merits of the legal questions before the court, allowing the

parties to better sharpen and prepare the issues for judicial review, and the suit is

brought by a pro se litigant with the intent to further the public interest. Therefore,

granting the motion furthers the interest of justice and the motion should be granted.



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April 1, 2022                          Respectfully submitted,

                                       THE PLAINTIFF, pro se

                                       /s/ Mario Cerame ct30125
                                       Mario Cerame, pro se

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                                    CERTIFICATION

I hereby certify that on APRIL 1, 2022, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will
be sent by e-mail to all parties by operation of the Court’s electronic filing system or by
mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF system.




                                                 /s/ Mario Cerame

                                                 Mario Cerame, ct30125




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